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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

RICARDO BETANCOURT,                           )
     c/o Public Citizen                       )
     1600 20th St NW                          )
     Washington, DC 20009,                    )
                                              )
OSCAR GUTIERREZ,                              )
       c/o Public Citizen                     )
               th
       1600 20 St NW                          )
       Washington, DC 20009,                  )
                                              )
SEVERIANO GUTIERREZ,                          )   Civil Action No. 20-3588
       c/o Public Citizen                     )
       1600 20th St NW                        )
       Washington, DC 20009,                  )
                                              )
and                                           )
                                              )
OLEGARIO LOPEZ,                               )
       c/o Public Citizen                     )
       1600 20th St NW                        )
       Washington, DC 20009,                  )
                                              )
                      Plaintiffs,             )
                                              )
       v.                                     )
                                              )
EUGENE SCALIA, in his official                )
capacity as United States Secretary of Labor, )
       200 Constitution Ave. NW               )
       Washington, DC 20210,                  )
                                              )
       and                                    )
                                              )
U.S. DEPARTMENT OF LABOR,                     )
       200 Constitution Ave. NW               )
       Washington, DC 20210,                  )
                                              )
                      Defendants.             )
_________________________________________ )

          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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                                        INTRODUCTION

       1.       Congress created the H-2A program, so named after the relevant provision of the

Immigration and Nationality Act (INA), to allow agricultural employers to employ foreign workers

in temporary or seasonal positions when they cannot fill those positions with domestic

farmworkers. 8 U.S.C. § 1101(a)(15)(H)(ii)(a). In so doing, Congress recognized that, without

regulation, employers might pay foreign workers lower wages, which would have the effect of

depressing wages and working conditions for U.S. workers. Accordingly, it specified that an

employer cannot employ H-2A workers unless the Secretary of Labor has certified that doing so

“will not adversely affect the wages and working conditions of workers in the United States

similarly employed.” 8 U.S.C. § 1188.

       2.       To guard against such wage depression, defendant Department of Labor (DOL)

establishes an Adverse Effect Wage Rate (AEWR), which sets a minimum wage that H-2A

employers must pay both U.S. farmworkers and H-2A workers. For decades, DOL has calculated

the AEWR based on data from the Farm Labor Survey (FLS), a comprehensive assessment of the

wages actually paid by agricultural employers.

       3.       In July 2019, DOL issued a proposed rule to make sweeping changes to the H-2A

program. DOL, Proposed Rule, Temporary Agricultural Employment of H-2A Nonimmigrants in

the U.S., 84 Fed. Reg. 36168 (July 26, 2019) (NPRM). That NPRM, however, included only minor

modifications to the longstanding AEWR structure and proposed to continue using the FLS to

establish and annually adjust AEWRs. Id.

       4.       In November 2020, though, DOL published a final rule, effective December 21,

2020, that radically alters how the AEWR is calculated. DOL, Final Rule, Adverse Effect Wage

Rate Methodology for the Temporary Employment of H-2A Nonimmigrants in Non-Range



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Occupations in the United States, 85 Fed. Reg. 70445 (Nov. 5, 2020) (the AEWR Rule). The

AEWR Rule freezes for two years the AEWRs for the vast majority of agricultural jobs at 2020

levels, which were based on the 2019 FLS. Even after the two-year freeze, DOL will not look to

the actual wages in the occupations and industries in which H-2A workers are employed. Rather,

beginning in 2023, and annually thereafter, DOL will adjust the AEWRs by the percentage change

in the Employment Cost Index (ECI), a measure of non-farm wages calculated by DOL. 85 Fed.

Reg. at 70446. DOL will use the percentage change in the ECI for the preceding 12-month period,

id. at 70455, locking in the wage depression that will result from the two-year freeze.

       5.       Neither a two-year freeze nor the use of an ECI-adjusted 2019 wage for 2023

onward was mentioned in DOL’s 2019 notice of proposed rulemaking, and neither is a logical

outgrowth of the agency’s limited discussion of changes to the AEWR. DOL’s failure to comply

with the basic requirements of notice-and-comment rulemaking, 5 U.S.C. §553(b)–(c), requires

the AEWR Rule to be set aside. 5 U.S.C. § 706(2)(D).

       6.       Even if the agency had given appropriate notice of these changes to the AEWR,

such changes are arbitrary, capricious, and contrary to law, and should be set aside. 5 U.S.C.

§ 706(2)(A). DOL’s adoption of the Rule is inconsistent with its mandate to ensure that the

admission of agricultural guest workers does not adversely affect the wages of U.S. farmworkers.

Freezing wages at 2019 levels until 2023, and then adjusting the frozen AEWR using an index that

does not include the agricultural sector, will result in the employment of foreign workers at wage

rates that adversely affect similarly employed U.S. workers. DOL acknowledges that the AEWR

Rule will result in H-2A workers losing an average of $167.76 million in wages annually and as

much as $1.68 billion over the next decade. 85 Fed. Reg. at 70472. Although DOL does not

quantify the wage losses that will be experienced by U.S. workers in corresponding employment,



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DOL acknowledges that lower wages for H-2A workers will drive down the wages of U.S.

workers. Id.

        7.       Nowhere in the Rule does DOL provide a reasoned explanation for the freeze in

wages or the use of the ECI to index the AEWR once the freeze ends, despite the conceded impact

on wages of U.S. workers. While DOL makes the conclusory assertion that these changes are

necessary to protect U.S. employers, its reasoning is illogical and not supported by the record—

and is untethered to DOL’s statutory obligations.

        8.       Because the AEWR Rule was promulgated without observance of procedure

required by law, and is arbitrary, capricious, and contrary to law, the AEWR Rule should be

vacated in its entirety.

                                  JURISDICTION AND VENUE

        9.       This Court has jurisdiction under 28 U.S.C. § 1331 and 5 U.S.C. § 702.

        10.      Venue is proper in this district under 28 U.S.C. § 1391(e)(1).

                                             PARTIES

        11.      Plaintiffs are residents of the state of Texas. Each of them is a U.S. worker within

the meaning of 20 C.F.R. § 655.103(b). They are experienced farmworkers who work for

agricultural businesses across the country. Each of the Plaintiffs regularly travels to farms located

in other states to obtain well-paid, temporary agricultural employment.

        12.      Plaintiff Ricardo Betancourt is a lawful permanent resident of the United States

living in Mercedes, Texas. Since 1980, he has worked as a farmworker in locations across the

country, in seasonal positions harvesting corn, wheat, watermelon, and other crops. He is currently

looking for seasonal farmworker employment, and he hopes to begin work shortly as cabbage

harvesting season begins. In determining whether to seek a particular seasonal employment



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position, he considers the wage being offered. In his experience, he competes with H-2A workers

for employment, and agricultural employers prefer to hire H-2A workers over United States

workers. He is concerned that any decrease in the wage rate paid to H-2A workers will decrease

the rate he is offered.

        13.     Plaintiff Oscar Gutierrez is a United States citizen living in McAllen, Texas. For

the past seven years, he has worked as a farmworker in Texas, Iowa, and Mississippi, in seasonal

positions harvesting watermelon, cabbage, and wheat, and operating a cotton gin. He is currently

looking for seasonal farmworker employment. In determining whether to seek a particular seasonal

employment position, he considers the wage being offered. He is concerned that if employers can

pay H-2A workers less, employers will offer him lower wages, and that such wages will not be

sufficient for him to survive.

        14.     Plaintiff Severiano Gutierrez is a United States citizen living in McAllen, Texas.

He has been a seasonal farmworker for nearly thirty years in locations throughout the United

States. For the past five years, he has worked harvesting watermelon and cabbage in Texas, and

corn and wheat in Illinois and Iowa. He expects to begin working on a cabbage farm in Texas in

the next few weeks as the cabbage harvesting season begins. He works alongside H-2A workers

in these jobs, and is paid the same rate as the H-2A workers. He is concerned that any changes to

the wages paid H-2A workers will change the wages he offered, and would make it impossible for

him to keep working as a farmworker.

        15.     Plaintiff Olegario Lopez is a lawful permanent resident of the United States living

in Weslaco, Texas. He has been a farmworker in seasonal positions throughout the United States

for the past nineteen years, with positions harvesting pumpkins and corn, and operating cotton

gins. He works alongside H-2A workers in some of these jobs, and is paid the same rate as the H-



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2A workers. He expects to begin working bagging corn in Indiana next month. In his experience,

some agricultural employers prefer to hire H-2A workers over United States workers, particularly

if they can pay H-2A workers lower wages.

        16.     Defendant Eugene Scalia is the Secretary of Labor and is charged with the

supervision and management of all decisions and actions within DOL. Plaintiffs sue Secretary

Scalia in his official capacity.

        17.     Defendant DOL is an agency of the United States within the meaning of the APA.

DOL is responsible for issuing labor certifications in connection with petitions to import aliens as

H-2A workers, as set forth in the INA, 8 U.S.C. § 1188.

                    STATUTORY AND REGULATORY BACKGROUND

        18.     The H-2A program allows U.S. employers to bring foreign nationals to the United

States to fill temporary agricultural jobs where the supply of U.S. workers is insufficient. To

participate in the H-2A program, eligible employers must complete a multi-step process.

        19.     Prior to filing a petition with U.S. Citizenship and Immigration Services (USCIS),

a division of the Department of Homeland Security, the employer must seek and obtain a

temporary labor certification from DOL’s Office of Foreign Labor Certification (OFLC)

confirming that “there are not sufficient workers who are able, willing, and qualified, and who will

be available at the time and place needed, to perform the labor or services involved in the petition,”

and that “the employment of the alien in such labor or services will not adversely affect the wages

and working conditions of workers in the United States similarly employed.” 8 U.S.C.

§ 1188(a)(1).




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        20.    DOL has promulgated regulations that govern the H-2A labor certification process.

20 C.F.R. Ch. V, Pt. 655, Subpt. B. These regulations contain numerous specific requirements for

employers seeking to hire workers through the H-2A program.

        21.    DOL’s regulations require that an employer offer, advertise in its recruitment

efforts, and pay a wage that is the highest of the AEWR, the prevailing hourly wage or piece rate,

the agreed-upon collective bargaining wage, or the Federal or State minimum wage. 20 C.F.R.

§ 655.120; see also 20 C.F.R. § 655.122(l). As DOL has explained, the inclusion of the AEWR,

apart from the prevailing wage, “reflects a longstanding concern that there is a potential for the

entry of foreign workers to depress the wages and working conditions of domestic agricultural

workers.” NPRM, 84 Fed. Reg. at 36180. In the H-2A program, “concerns about wage depression

from the importation of foreign workers are particularly acute because access to an unlimited

number of foreign workers in a particular labor market and crop activity or agricultural activity

could cause the prevailing wage of workers in the United States similarly employed to stagnate.”

Id. “[T]he AEWR protects against localized wage depression that might occur in prevailing wage

rates.” Id.

        22.    Except for a brief period in 2009 and 2010, DOL “has always used the FLS to set

the H-2A AEWR.” Id. at 36180. The FLS collects information from 10,000 to 13,000 farms and

ranches on a quarterly basis. Id. Since 2014, the FLS has collected these data by Standard

Occupational Classifications (SOC). Id. at 36181. The largest SOC agricultural categories are crop

workers (SOC Code 45-2092), ranch and aquaculture workers (SOC Code 45-2093), and

agricultural equipment operators (SOC Code 45-2091). These SOC categories also account for the

vast majority of H-2A certifications. For example, in Fiscal Year 2020, DOL certified 275,460




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positions to be potentially filled by H-2A workers, 81% of which were crop workers, 5.6% of

which were agricultural equipment operators, and 4.0% were ranch or aquaculture workers.

       23.     Since 2010, DOL has set the AEWR for a state or region at the annual weighted

average hourly wage for field and livestock workers (combined) as published in the FLS. 20 C.F.R.

§ 655.103. This figure includes most, but not all, of the agricultural SOC groupings. 84 Fed. Reg.

at 36181. Although the FLS collects data by SOC, it does not report wages at that level of

specificity. Rather, the FLS reports wages for field workers, livestock workers, field and livestock

workers combined, and total hired workers. Id.

       24.     FLS data are collected each calendar quarter on an ongoing basis. DOL adjusts the

AEWRs annually to reflect year-to-year changes in wages. Id. at 36180.

             THE JULY 2019 NOTICE OF PROPOSED RULEMAKING (NPRM)

       25.     In July 2019, DOL issued a notice proposing numerous changes to its regulations

governing the H-2A program. 84 Fed. Reg. 36168.

       26.     In the NPRM, DOL proposed to continue setting AEWRs based on the FLS, with

only minor modifications. Id. at 36171, 36180. Rather than using a single AEWR based on the

combined average wages of all crop and livestock workers, DOL proposed issuing separate

AEWRs for each occupational category for which the FLS collects data, including crop workers

(SOC Code 45-2092), ranch and aquaculture workers (SOC Code 45-2093), and agricultural

equipment operators (SOC Code 45-2091). Id. at 36180–81.

       27.     DOL justified these changes based on its concern that the current AEWR

methodology depressed the wages of higher-paid agricultural occupations, such as agricultural

equipment operators, construction laborers, and supervisors. Id. at 36171. This situation resulted

in part because of DOL’s routine certification of these higher-skilled jobs at the AEWR (i.e.,



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certification that paying the AEWR would have no adverse effect) even when the prevailing wage

for the occupation was higher than the applicable AEWR. DOL’s failure to impose the prevailing

wage requirement in these instances in violation of the requirements of 20 C.F.R. § 655.120(a) is

the subject of litigation before this Court. See Garcia v. Scalia, No. 18-cv-1968-RDM (D.D.C.).

       28.    Under the proposed rule, DOL would continue to use FLS data to determine the

AEWRs for all major agricultural occupational groups for which FLS data were available at the

state or regional level, categories which DOL estimated included approximately 89 percent of all

H-2A workers. 84 Fed. Reg. at 36182.

       29.    For those agricultural occupations for which there were insufficient FLS data to

calculate a state or regional wage, DOL proposed setting the AEWRs using the statewide annual

wage from the Occupational Employment Statistics (OES) survey conducted by DOL’s Bureau of

Labor Statistics. Id. at 36171. For this small subset of occupations and this subset only, DOL

invited comments as to whether future AEWRs should be computed by adjusting past AEWRs

through the use of one of a number of possible governmental indices, including the ECI, which

measures changes in labor costs for non-farm employers. Id. at 36182.

       30.    DOL did not propose or seek comments regarding use of the ECI or any other

indexing method to compute AEWRs for any of the H-2A occupations for which FLS data allowed

calculation of AEWRs at a state or regional level. Nothing in the NPRM indicated that DOL was

considering using an index such as the ECI to adjust AEWRs for the major occupational categories:

crop workers (SOC Code 45-2092), ranch hands (45-2093), and agricultural equipment operators

(45-2091). According to DOL’s Fiscal Year 2020 statistics, these three categories comprised over

97% of all H-2A certifications.




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       31.     DOL did not discuss or propose instituting a transitional period during which DOL

would temporarily halt the annual setting of AEWRs.

       32.     DOL received over 83,000 public comments in response to the NPRM. 85 Fed.

Reg. 70448. On information and belief, none of the comments discussed a possible moratorium or

freeze of AEWRs during a transitioning to a new AEWR methodology, and none discussed the

possibility of using changes in the ECI to adjust the AEWRs in future years for the major

occupational categories.

                 USDA’S SUSPENSION OF THE FARM LABOR SURVEY

       33.     On September 30, 2020, USDA announced that it was suspending data collection

through the FLS beginning in October 2020. USDA, Notice of Revision to the Agricultural Labor

Survey and Farm Labor Reports by Suspending Data Collection for October 2020, 85 Fed. Reg.

61719 (Sept. 30, 2020).

       34.     On October 28, 2020, the U.S. District Court for the Eastern District of California

issued a temporary restraining order and preliminary injunction enjoining USDA’s suspension of

the FLS. United Farm Workers v. Perdue, No. 1:20-cv-01452-DAD, 2020 WL 6318432 (E.D. Cal.

Oct. 28, 2020). In its decision, the court found that plaintiffs were likely to succeed on the merits

of their claim that USDA arbitrarily and capriciously failed to consider the disruptive effect that

the suspension would have on the H-2A program and farmworker wages, id. at *9–*10, and that

they had raised at least “serious questions” as to other arguments, id. at *10–*14. After the AEWR

rule was issued, USDA moved to dissolve the preliminary injunction. USDA’s motion was denied.




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                                     THE AEWR RULE

       35.    On November 5, 2020, DOL issued a final rule purportedly based on the July 2019

NPRM. The new rule dealt exclusively with changes to AEWR methodology. DOL stated that a

subsequent final rule would address the other issues in the NPRM. 85 Fed. Reg. at 70445.

       36.    DOL stated that the AEWR Rule was prompted by USDA’s September 30, 2020

announcement that it was suspending the FLS. While acknowledging that USDA is under court

order to proceed with the collection of FLS data for 2020, id. at 70446, DOL asserted that

immediate action was nevertheless needed because no statutory or regulatory authority required

USDA to continue to conduct the survey—a fact that had been true throughout the many decades

during which DOL had used the FLS to calculate AEWRs on an annual basis. See id.

       37.    The AEWR Rule made two major changes to the AEWR methodology. First, DOL

froze AEWRs at the 2020 level for a two-year “transition period.” Id. The 2020 AEWRs, which

are based on the 2019 FLS data, will serve as the AEWRs for 2021 and 2022, regardless of changes

in farmworker wages during that period.

       38.    Second, beginning in 2023, DOL will annually adjust the AEWR, but without any

examination of actual farm wages. Rather, DOL will adjust the 2020 AEWRs by the percentage

change in the ECI, a DOL measure of labor costs for non-farm employers, for the preceding twelve

months. Id. The ECI adjustment for 2023 will be applied to the 2020 AEWRs, which will have

been used, unchanged, for three years. Even then, the AEWRs will be adjusted by the change in

the ECI for only the preceding twelve months.

       39.    Neither of these two changes was proposed, discussed, or mentioned in the July

2019 NPRM.




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       40.     The AEWR rule did not invoke the good cause exception to the APA’s notice and

comment requirements under 5 U.S.C. § 553(b)(3)(B).

       41.     Freezing AEWRs for 2021 and 2022, and allowing employers to pay H-2A workers

during those years based on the 2020 AEWR, will adversely affect the wages of U.S. farmworkers.

The 2021 and 2022 AEWRs will not reflect any increases in farmworker wages occurring since

2019, the date of the FLS data on which the frozen AEWRs were calculated. Given historical

trends and basic economic theory, farm labor wages likely will rise appreciably throughout this

period. Indeed, DOL acknowledges that in recent years, farmworker wages have increased

significantly faster than inflation or wage increases in the overall U.S. economy. 85 Fed. Reg. at

70452. Allowing employers to pay foreign H-2A workers in 2021 and 2022 at the 2020 AEWR,

a wage below the 2021 and 2022 wages of similarly employed U.S. workers, will cause the very

adverse effect DOL is statutorily charged with avoiding.

       42.     DOL insists that the two-year AEWR freeze in 2021 and 2022 is needed to provide

employers with a reasonable amount of time to plan their labor needs and adjust their operations

to the new AEWR methodology. 85 Fed. Reg. 70467. However, DOL does not explain why a

transition period is necessary given the facts that AEWRs have been adjusted annually since 1987

and that the index chosen by DOL will result in more gradual, incremental adjustments than in the

past. Moreover, DOL’s explanation shows that it failed to consider obvious alternatives, including

the prospect of continuing to set the AEWRs based on the annual FLS, which would not entail a

new methodology.

       43.     DOL justifies the use of the 2020 AEWRs, computed from data collected in 2019,

as the base wages for adjusting AEWRs beginning in 2023 as necessary to eliminate any

“volatility” that might otherwise result if employers were required to pay AEWRs that reflected



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actual wage increases that occurred within the farm labor market between 2019 and 2022. But the

mere fact that market wages fluctuate over time is not in itself a reason for DOL to ignore actual

market wages. DOL made no attempt to explain how this was relevant to DOL’s statutory

obligation to ensure that the H-2A program does not have an adverse effect on the wages and

working conditions of U.S. workers, or to justify why such “volatility” allowed it to disregard that

obligation.

       44.     DOL also failed to explain how using the non-farm-labor based ECI to index the

2020 AEWRs would protect the wages and working conditions of U.S. farmworkers. Indeed, DOL

acknowledges that the annual ECI adjustments over the last decade have been less than the amount

the AEWRs typically increased based on FLS data, which tracks actual farmworker wages. Even

if the ECI did accurately reflect changes in farmworker wages, it is arbitrary to begin adjusting the

AEWR based on the change to the ECI during the preceding twelve months, when the AEWR will

have been unchanged for three years.

                             FIRST CLAIM FOR RELIEF
     (Administrative Procedure Act – Failure to Observe Procedure Required by Law)

       45.     The AEWR Rule is a legislative rule, and thus DOL was required to comply with

the notice and comment requirements of the APA, 5 U.S.C. § 553(b)–(c).

       46.     DOL failed to comply with these requirements as the NPRM failed to provide

interested parties any indication that DOL was contemplating (1) freezing the AEWR at the 2020

rate for two years or (2) calculating the AEWR for 2023 and future years by adjusting the 2019

rate based on the ECI, or any other wage index.

       47.     Because these changes to the AEWR methodology were not a logical outgrowth of

the NPRM, interested members of the public were deprived of notice and a meaningful opportunity

to comment, as required by the APA, 5 U.S.C. § 553(b)–(c). DOL thus failed to observe procedures

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required by law, in contravention of the APA, 5 U.S.C. § 706(2)(D).

                             SECOND CLAIM FOR RELIEF
             (Administrative Procedure Act – Agency Action Contrary to Law)

       48.     8 U.S.C. §§ 1101(a)(15)(H)(ii)(A) and 1188 require DOL to ensure that H-2A

workers are only admitted under conditions that “will not adversely affect the wages and working

conditions of similarly employed U.S. workers.”

       49.     The AEWR Rule will allow an adverse effect by:

               a. Freezing the AEWR at 2020 levels (based on 2019 data) until 2023;

               b. Indexing AEWRs after the freeze based on ECI data that specifically excludes
               agricultural wages; and

               c. Applying the 2021-2022 change in the ECI data to the 2020 AEWR to generate
               the 2023 AEWR, thereby skipping the increases that occur between 2019-2020 and
               2020-2021.

       50.     The AEWR Rule is thus not in accordance with law. 5 U.S.C. § 706(2)(A).

                              THIRD CLAIM FOR RELIEF
         (Administrative Procedure Act –Arbitrary and Capricious Agency Action)

       51.     In undertaking final agency action, an agency must engage in reasoned

decisionmaking, considering all relevant factors, and “cogently explain[ing] why it has exercised

its discretion in a given manner.” Motor Veh. Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463

US. 29, 43 (1983).

       52.     In issuing the AEWR Rule, DOL failed to provide a reasoned, non-arbitrary

explanation for:

               a. The decision to freeze AEWRs at the 2020 level until 2023;

               b. The decision to switch away from an AEWR methodology based directly on
               annual surveys and instead adopt an AEWR methodology that sets the 2020 AEWR
               as a base rate and then increases or decreases that rate based on percentage changes
               in the ECI data (after a two-year freeze); and



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               c. The decision to index the 2020 AEWR beginning in 2023 using the percentage
               change in ECI for the preceding twelve months.

       53.     Because the Final Rule fails to provide a reasoned, non-arbitrary explanation for

these changes, the Final Rule is arbitrary and capricious. 5 U.S.C. § 706(2)(A).

                                   REQUEST FOR RELIEF

       Wherefore, Plaintiffs respectfully request that this Court:

       A.      Declare the AEWR Rule unlawful because it was promulgated without observance

of procedure required by law;

       B.      Declare the AEWR rule arbitrary, capricious, an abuse of discretion, or otherwise

not in accordance with law;

       C.      Vacate and set aside the AEWR Rule in its entirety;

       D.      Award Plaintiffs their reasonable fees, costs, and expenses, including attorneys’

fees; and

       E.      Grant other such relief as this Court may deem proper.


Dated: December 10, 2020                               Respectfully submitted,

                                                       /s/ Michael T. Kirkpatrick
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